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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

MSR MEDIA SKN LTD., MSR HOTELS
& CO. LTD., MSR MEDIA
INTERNATIONAL LLC, and PHILIPPE
MARTINEZ,

Plaintiffs,

LESLIE KHAN, CARIBBEAN GALAXY
REAL ESTATE CORP., CARIBBEAN
GALAXY REAL ESTATE LTD., YING
JIN, TIMOTHY HARRIS, DENZIL
DOUGLAS, CARIB TRUST LTD.,
FARON LAWRENCE, ST. KITTS-
NEVIS-ANGUILLA NATIONAL BANK
LTD., and MC CLAUDE EMMANUEL,

Defendants.

No. 8:24-cv-01248

DECLARATION OF FARON
LAWRENCE

I, Faron Lawrence, hereby declare as follows:

1. I submit this declaration in further support of Defendants CaribTrust

Ltd. (“Carib Trust”) and Faron Lawrence’s Motion to Dismiss filed in the above-

captioned action.

2. I am a resident of St. Kitts and Nevis and exclusively work in this

region.

3. Iam not employed by CaribTrust, nor have I ever been employed by

CaribTrust.
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4. I am the General Manager of Lawrence Associates Ltd., which is a
distinct corporate entity from CaribTrust that operates in St. Kitts and Nevis, and
has not been named a defendant in this action.

5. I do not maintain any bank or escrow accounts in the United States.

6. I do not own any real property in the United States.

7. I do not hold any assets in the United States.

8. I do not file taxes in the United States or Florida.

9. I do not possess or maintain a license to do business in the United
States or Florida.

10. I have not operated, conducted, or engaged in or carried on a business
venture, or had an office or agency in the United States.

11. Ihave not traveled to the United States in relation to any business.

Pursuant to 28 U.S.C. § 1746, I certify under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

Ye
Executed on October 40 2024
in St. Kitts and Nevis

aron Lawrence
